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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Christopher Hadnagy and Social-Engineer, LLC



Name(s) of counsel (if any):
Kristofer Riklis



Address: 871 Coronado Center Drive, Suite 200 Henderson, Nevada 89052
Telephone number(s): 702-720-6471
Email(s): kristofer@riklislaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Jeff Moss and Def Con Communications, Inc.



Name(s) of counsel (if any):
David Perez, Matthew J. Mertens, Jacob Dean, Lauren A. Trambley



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To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
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Form 6                                               2                                         New 12/01/2018
